              Case 18-36057 Document 75 Filed in TXSB on 11/02/18 Page 1 of 6



                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                  §
    In re:                                                        §      Chapter 11
                                                                  §
    GASTAR EXPLORATION INC., et al.,1                             §      Case No. 18-36057 (MI)
                                                                  §
                                       Debtors.                   §      (Jointly Administered)
                                                                  §
                                                                  §      Re: Docket No. 20

             INTERIM ORDER AUTHORIZING THE DEBTORS TO PAY
      CERTAIN PREPETITION CLAIMS IN THE ORDINARY COURSE OF BUSINESS


             Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of an interim order (this “Interim Order”), (a) authorizing,

but not directing, the Debtors to pay allowed prepetition claims (collectively, the “Accounts

Payable Claims”)3 of general unsecured creditors and creditors whose Accounts Payable Claims

may give rise to liens under certain state and federal laws, that are not Debtors or “affiliates” (as

such term is defined in section 101(2) of the Bankruptcy Code) of the Debtors (collectively, the

“Creditors”) in the ordinary course of business, (b) granting related relief, and (c) scheduling a

final hearing to consider approval of the Motion on a final basis, all as more fully set forth in the

Motion; and upon the First Day Declaration; and this Court having jurisdiction over this matter


1     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: Gastar Exploration Inc. (1640), and Northwest Property Ventures LLC (8685). The location of the
      Debtors’ service address is: 1331 Lamar Street, Suite 650, Houston, Texas 77010.
2     Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.
3     Contemporaneously with the filing of this Motion, the Debtors have filed certain other “first day” motions seeking
      authority to satisfy certain prepetition obligations to parties including, among others, employees, and taxing
      authorities. This Motion is not duplicative of any such motion. As used herein, the term “Accounts Payable
      Claims” includes no obligation the Debtors seek to pay under separate motion. Nothing contained herein is
      intended or should be construed as an admission as to the validity of any claim against the Debtors or a waiver of
      the Debtors’ rights to dispute any asserted claim.
         Case 18-36057 Document 75 Filed in TXSB on 11/02/18 Page 2 of 6



pursuant to 28 U.S.C. § 1334; and that this Court may enter a final order consistent with Article

III of the United States Constitution; and this Court having found that venue of this proceeding

and the Motion in this district is permissible pursuant to 28 U.S.C. §§ 1408 and 1409; and this

Court having found that the relief requested in the Motion is in the best interests of the Debtors’

estates, their creditors, and other parties in interest; and this Court having found that the Debtors’

notice of the Motion and opportunity for a hearing on the Motion were appropriate under the

circumstances and no other notice need be provided; and this Court having reviewed the Motion

and having heard the statements in support of the relief requested therein at a hearing before this

Court (the “Hearing”); and this Court having determined that the legal and factual bases set forth

in the Motion and at the Hearing establish just cause for the relief granted herein; and upon all of

the proceedings had before this Court; and after due deliberation and sufficient cause appearing

therefor, it is HEREBY ORDERED THAT:

       1.      The Motion is granted on an interim basis as set forth herein.

       2.      The final hearing (the “Final Hearing”) on the Motion shall be held on

November 28, 2018, at 2:00 p.m., prevailing Central Time. Any objections or responses to entry

of a final order on the Motion shall be filed on or before 4:00 p.m., prevailing Central Time, on

November 23, 2018, and shall be served on: (a) the Debtors, 1331 Lamar Street, Suite 650,

Houston, Texas 77010, Attn: Michael A. Gerlich; (b) proposed co-counsel to the Debtors,

(i) Kirkland & Ellis LLP, 300 North LaSalle Street, Chicago, Illinois 60654, Attn: Ross M.

Kwasteniet, P.C. and John R. Luze, and (ii) Jackson Walker L.L.P., 1401 McKinney Street, Suite

1900, Houston, Texas 77010, Attn: Patricia B. Tomasco, Elizabeth C. Freeman, and Matthew D.

Cavenaugh; (c) counsel to any statutory committee appointed in these cases; (d) counsel to Ares

Management LLC and its affiliated funds, Milbank, Tweed, Hadley & McCloy LLP, 2029 Century


                                                  2
           Case 18-36057 Document 75 Filed in TXSB on 11/02/18 Page 3 of 6



Park East, Los Angeles, California, 90067-3019, Attn: Paul Aronzon, Thomas R. Kreller, and Haig

M. Maghakian; and (e) the Office of the U.S. Trustee for the Southern District of Texas, 515 Rusk

Street, Suite 3516, Houston, Texas 77002. In the event no objections to entry of the Final Order

on the Motion are timely received, this Court may enter such Final Order without need for the

Final Hearing.

       3.        The Debtors are authorized, but not directed, to pay Accounts Payable Claims of

Creditors, up to the aggregate corresponding amounts pending entry of the Final Order:

                 a.       Operating Expenses up to $5.0 million;

                 b.       Drilling and Completion Costs up to $3.5 million; and

                 c.       Land Costs up to $1.5 million.

       4.        For the avoidance of doubt, the Debtors shall not pay any G&A Expenses pending

entry of a Final Order.

       5.        If the Debtors intend to make any single payment on account of a prepetition

Accounts Payable claim that exceeds, in the aggregate, $10 million (the “Trade Claimant Cap”),

then the Debtors must provide two (2) business days’ advance notice to, and opportunity to object

by, the U.S. Trustee; provided, that is the U.S. Trustee objects to the additional payment to a single

Creditor on account of an Accounts Payable Claim, the Debtors shall not make such payment,

solely to the extent of any such objection and only to the extent such disputed payment exceeds

the Trade Claimant Cap, without further order of the Court or written consent from the U.S.

Trustee.

       6.        The Debtors shall condition payment of an Accounts Payable Claim on a Creditor’s

maintenance or application of Customary Terms.

       7.        If a Creditor, after receiving payment on account of an Accounts Payable Claim,

ceases to provide Customary Terms or otherwise fails to perform under a contract with a Debtor,

                                                   3
         Case 18-36057 Document 75 Filed in TXSB on 11/02/18 Page 4 of 6



the applicable Debtor may exercise any and all rights to seek recovery of the sums paid, including

to deem such payment to apply instead to any postpetition amount that may be owing to such

Creditor or treat such payment as an avoidable postpetition transfer of property.

       8.        The Debtors shall maintain a matrix of trade claims and amounts paid subject to the

terms and conditions of this Interim Order, including the following information: (a) the name of

the Claimant paid; (b) the amount of the payment to such Claimant; (c) the total amount paid to

the Claimant to date; (d) the category of Claimant, as further described and classified in the

Motion; (e) the payment date; and (f) the purpose of such payment. Debtors shall provide a copy

of such matrix to the U.S. Trustee, the Debtors’ proposed postpetition lenders, and any statutory

committee appointed in these chapter 11 cases every other week beginning upon entry of this

Interim Order.

       9.        Nothing herein shall impair or prejudice the rights of the U.S. Trustee, the Debtors’

proposed postpetition lenders, and any statutory committee appointed in these chapter 11 cases,

which are expressly reserved, to object to any payment to a Claimant that is an affiliate (as such

term is defined in section 101(2) of the Bankruptcy Code), of the Debtors, an insider (as such term

is defined in section 101(31) of the Bankruptcy Code), of the Debtors, or an affiliate of an insider,

of the Debtors. To the extent the Debtors intend to make a payment to a Claimant that is an

affiliate, insider or an affiliate of an insider of the Debtors, the Debtors shall, to the extent

reasonably practicable, provide three (3) business days’ advance notice to, and opportunity to

object by the U.S. Trustee, the Debtors’ proposed postpetition lenders, and any statutory committee

appointed in these chapter 11 cases; provided, that if any party objects to the payment, the Debtors

shall not make such payment without further order of the Court.




                                                   4
         Case 18-36057 Document 75 Filed in TXSB on 11/02/18 Page 5 of 6



       10.       Nothing herein shall authorize payment for any claim that does not give rise to liens

under state or federal law.

       11.       Notwithstanding the relief granted in this Interim Order and any actions taken

pursuant to such relief, nothing in this Interim Order shall be deemed: (a) an admission as to the

validity of any prepetition claim against a Debtor entity; (b) a waiver of the Debtors’ right to

dispute any prepetition claim on any grounds; (c) a promise or requirement to pay any prepetition

claim; (d) an implication or admission that any particular claim is of a type specified or defined in

this Interim Order or the Motion; (e) a request or authorization to assume any prepetition

agreement, contract, or lease pursuant to section 365 of the Bankruptcy Code; or (f) a waiver of

the Debtors’ rights under the Bankruptcy Code or any other applicable law.

       12.       The banks and financial institutions on which checks were drawn or electronic

payment requests made in payment of the prepetition obligations approved herein are authorized

and directed to receive, process, honor, and pay all such checks and electronic payment requests

when presented for payment, and all such banks and financial institutions are authorized to rely on

the Debtors’ designation of any particular check or electronic payment request as approved by this

Interim Order.

       13.       The Debtors are authorized to issue postpetition checks, or to effect postpetition

fund transfer requests, in replacement of any checks or fund transfer requests that are dishonored

as a consequence of these chapter 11 cases with respect to prepetition amounts owed in connection

with any Accounts Payable Claims.

       14.       Notwithstanding anything to the contrary contained herein, any payment to be made

hereunder shall be subject to the terms, conditions, requirements and budgets imposed on the




                                                   5
         Case 18-36057 Document 75 Filed in TXSB on 11/02/18 Page 6 of 6



Debtors under the Debtors’ postpetition financing documents (the “DIP Documents”) and any

order governing the Debtors’ use of cash collateral and entry into the DIP Documents.

       15.     The contents of the Motion satisfy the requirements of Bankruptcy Rule 6003(b).

       16.     Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Bankruptcy Local Rules

are satisfied by such notice.

       17.     Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Interim

Order are immediately effective and enforceable upon its entry.

       18.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Interim Order in accordance with the Motion.

       19.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Interim Order.

 Dated: __________, 2018
 Houston, Texas                                      MARVIN ISGUR
                                                     UNITED STATES BANKRUPTCY JUDGE




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